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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON

 8     ERIC CARRAWAY SR.,                               NO. 2:23-cv-00975-JHC

 9                             Plaintiff,               JOINT STATUS REPORT AND
                                                        DISCOVERY PLAN
10            vs.

11     MIDLAND CREDIT MANAGEMENT,
       INC., ABSOLUTE RESOLUTIONS
12     INVESTMENTS, LLC, and GORDON,
       AYLWORTH, & TAMI, P.C.,
13
                               Defendants.
14

15
            Pursuant to this Court’s July 21, 2023 Order (dkt. #9), the parties submit the following
16
     Joint Status Report and Discovery Plan:
17
        1. Nature and Complexity of Case
18
            The parties do not believe this case to be complex. Plaintiff brings the underlying action
19
     alleging statutory violations of the federal Fair Debt Collection Practices Act (“FDCPA”), 15
20
     U.S.C. §1692 et seq., and the Washington Consumer Protection Act, as invoked by the Washington
21
     Collection Agency Act) as a result of collection actions taken by Defendants, concerning a debt
22
     allegedly owed by Plaintiff.
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 1          Defendant Midland Credit Management, Inc. (“Midland”) will assert various defenses as

 2   laid out in its Answer.

 3          Defendant Absolute Resolutions Investments, LLC (“ARI”) will assert various defenses as

 4   laid out in its Answer.

 5          Defendant Gordon, Aylworth, & Tami, P.C. (“GAT”) will assert various defenses as laid

 6   out in its Answer.

 7      2. Proposed Deadline for Additional Parties

 8          The parties propose November 3, 2023.

 9      3. Consent to Magistrate Judge

10          The parties have discussed the matter and will not consent to a Magistrate Judge for trial.

11      4. Discovery Plan

12               a. Initial Disclosures

13          The parties will exchange their initial disclosures by August 18, 2023, pursuant to this

14   Court’s Order.

15               b. Subjects, Timing, and Potential Phasing of Discovery

16          Plaintiff plans to conduct discovery regarding the underlying facts of the debt collection

17   efforts, communications between the parties, the Defendants’ defenses, and other related matters.

18          Defendant Midland plans to conduct discovery related to Plaintiff’s claims and the facts

19   underlying the claims, and plaintiff’s alleged damages.

20          Defendant ARI plans to conduct discovery related to Plaintiff’s claims and alleged

21   damages.

22          Defendant GAT plans to conduct discovery related to Plaintiff’s claims and alleged

23   damages.



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 1                c. Electronically Stored Information

 2          The parties do not anticipate that the production of ESI will be relevant in this case.

 3                d. Privilege issues

 4          To the extent discoverable but confidential information may be sought, the parties will

 5   discuss an appropriate stipulated protective order and/or an in camera review by the court, if

 6   necessary. The parties do not anticipate many privilege issues but will assert objections as

 7   appropriate.

 8                e. Proposed limitations on discovery

 9          The parties do not presently believe that any changes to the federal discovery rules are

10   needed.

11                f. Need for discovery-related orders

12          The parties do not foresee a need for such orders at this time, but may seek protective orders

13   if an unresolvable dispute arises.

14      5. Local Civil Rule 26(f)(1) Items

15             (A)   Prompt Case Resolution

16                   The parties are willing to discuss settlement in good faith.

17          (B)      Alternative Dispute Resolution

18                   The parties are willing to consider ADR.

19          (C)      Related Cases

20                   None known to the Parties.

21          (D)      Discovery Management

22

23



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 1          At this time, the parties do not expect significant or protracted discovery. The parties agree

 2   to cooperate in a manner that minimizes expenses while preserving each side’s ability to assert

 3   their claims and defenses.

 4          (E)     Anticipated Discovery Sought

 5                  The parties anticipate written discovery and depositions.

 6          (F)     Phasing Motions

 7                  Not at this time.

 8          (G)     Preservation of Discoverable Information

 9                  The parties do not anticipate any issues preserving discoverable information.

10          (H)     Privilege Issues

11                  Same as 4(d) above.

12          (I)     Model Protocol for Discovery of ESI

13                  The parties do not anticipate that the production of electronically-stored

14   information will be relevant in this case.

15          (J)     Alternatives to Model Protocol

16                  None at this time (see above).

17      6. Date for Discovery Completion

18          The parties propose March 29, 2024.

19      7. Bifurcation of Liability and Damages Issues or Other Issues

20          At this time, the parties do not believe that the case should be bifurcated.

21      8. Pretrial Statements and Pretrial Order

22          The parties suggest that the pretrial statements and the pretrial order called for by Local

23   Civil Rules 16(e), (h), (i), and (k) and 16.1 may be dispensed with in whole or in part for economy.



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 1      9. LCR 39.2 Individualized Trial Program/ADR per LCR 39.1

 2            The parties do not agree to an Individualized Trial Program. The parties are willing to

 3   consider ADR options under LCR 39.1.

 4      10.     Other Suggestions for Shortening or Simplifying the Case

 5            None at this time.

 6      11. Trial Readiness

 7            The parties propose June 19, 2024.

 8      12.     Jury / Non-Jury Trial

 9            The parties request a non-jury trial.

10      13.     Number of Trial Days Required

11            The parties estimate one day.

12      14.     The names, addresses, and telephone numbers of all trial counsel.

13            For Plaintiff:

14            Jason D. Anderson
              T. Tyler Santiago
15            Anderson Santiago, PLLC
              207B Sunset Blvd. N.
16            Renton, WA 98057
              206-395-2665
17
              For Defendant Midland:
18
              Garrett S. Garfield
19            Holland & Knight LLP
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              For Defendant ARI:
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              Brit J. Suttell
23            Barron & Newburger, P.C.
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 2
               For Defendant GAT:
 3
               Brit J. Suttell
 4             Barron & Newburger, P.C.
               6100 219th St. SW, Suite 480
 5             Mountlake Terrace, WA 98043
               484.999.4232
 6

 7       15.    Trial Scheduling Conflicts

 8             Plaintiff’s counsel does not have any scheduling conflicts at this time.

 9             Counsel for Midland does not have any scheduling conflicts at this time.

10       16.    Service Status

11             Defendants have been served.

12       17.    Scheduling Conference

13             The parties do not request a scheduling conference before the court enters a scheduling

14   order in this case.

15       18.    Corporate Disclosure Statement

16             Defendant Midland previously filed a corporate disclosure statement in this matter on July

17   7, 2023.

18             Defendant ARI previously filed a corporate disclosure statement in this matter on June 30,

19   2023.

20             Defendant GAT previously filed a corporate disclosure statement in this matter on June 30,

21   2023.

22             Dated this 2nd day of August, 2023

23                                                   ANDERSON SANTIAGO, PLLC



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 1                                               By: /s/ Jason D. Anderson
                                                                         .




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 2                                               Jason D. Anderson, WSBA No. 38014
                                                 Attorneys for Plaintiff
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                                                 Renton, WA 98057
 4                                               (206) 395-2665
                                                 (206) 395-2719 (fax)
 5
            Dated this 2nd day of August, 2023
 6
                                                 HOLLAND & KNIGHT LLP
 7
                                                 By: /s/ Garrett S. Garfield
 8                                               Garrett S. Garfield, WSBA No. 48375
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 9                                               Portland, OR 97204
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10                                               garrett.garfield@hklaw.com

11                                               Counsel for Defendant Midland Credit
                                                 Management, Inc.
12

13          Dated this 2nd day of August, 2023

14                                               BARRON & NEWBURGER, P.C.

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18                                               Counsel for Defendants Absolute Resolutions
                                                 Investments, LLC and Gordon Aylworth & Tami,
19                                               P.C.
20

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